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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

NOVARTIS PHARMACEUTICALS
CORPORATION,

     Plaintiff,
                                            C.A. NO. 18-1043-KAJ
     V.

ACCORD HEALTHCARE INC., ET AL.,

     Defendants.

            DEFENDANTS HEC PHARM CO., LTD. AND HEC PHARM USA INC.
               POST-TRIAL RESPONSE BRIEF ON NON-INFRINGEMENT
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                                        Respectfully submitted,

 Of Counsel:                            STAMOULIS & WEINBLATT, LLP

 Mieke Malmberg                         /s/ Stamatios Stamoulis
 SKIERMONT DERBY LLP                    Stamatios Stamoulis (#4606)
 800 Wilshire Blvd., Ste. 1450          Richard C. Weinblatt (#5080)
 Los Angeles, CA 90017                  STAMOULIS & WEINBLATT, LLP
 (213) 788-4502                         800 N. West St., 3rd Floor
 mmalmberg@skiermontderby.com           Wilmington, DE 19801
                                        (302) 999-1540
 Paul Skiermont                         stamoulis@swdelaw.com
 Sarah Spires                           weinblatt@swdelaw.com
 Steven J. Udick
 SKIERMONT DERBY LLP                    Attorneys for Defendant HEC Pharm Co.,
 1601 Elm Street, Suite 4400            HEC Pharm USA Inc.
 Dallas, TX 75201
 (214) 978-6600
 pskiermont@skiermontderby.com
 sspires@skiermontderby.com
 sudick@skiermontderby.com

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                                TABLE OF ABBREVIATIONS


 Abbreviation     Exhibit No.        Description
 ’405 patent      JTX-001            U.S. Patent No. 9,187,405
 HEC Label        PTX-310            Fingolimod
 HEC                                 Metabolite of FTY720
 Novartis                            Multiple Sclerosis
 ANDA                                Relapse-remitting multiple Sclerosis
 MS                                  Multiple Sclerosis
 RRMS                                Relapse-remitting multiple sclerosis
 JSUF ¶ [X]                          Joint Statement of Uncontested Facts, Dkt. [X-X],
                                     Exhibit 1 to Final Pretrial Order.
 HFF ¶ [X]                           HEC’s Findings of Fact, Dkt. No.
 SFF ¶ [X]                           HEC’s Supplemental Findings of Fact
 SCOL ¶ [X]                          HEC’s Supplemental Conclusions of Law
 NFF ¶ [X]                           Novartis’s Findings of Facts, Dkt. No. XX




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       Defendants HEC Pharm Co., Ltd. and HEC Pharm USA Inc. (collectively, “HEC”),

pursuant to the Final Pretrial Order filed in this matter at Dkt. 715, hereby submits its Responsive

Post-Trial Brief on Non-infringement.

                            INTRODUCTION & BACKGROUND

       Novartis has not proven by a preponderance of the evidence that HEC has induced

infringement of the ’405 patent or contributed to infringement of it. Each of the claims of the ’405

patent include a limitation that 0.5 mg fingolmod is administered daily absent an immediately

preceding loading dose. Novartis chose to include this negative limitation in its claims to overcome

a rejection from the prior art Kovarik reference (an MS-related study that included a loading dose),

which included a loading dose. Back then, Novartis chose the scope of its claims.

       Now, Novartis wants to have the Court ignore these facts and render this claim limitation

irrelevant for the infringement analysis. For there to be induced infringement of a method claim in

Hatch-Waxman cases, the specific intent to infringe the patent, the label must encourage,

recommend, or promote infringement; put another way, it must instruct the physician to perform

each limitation. Here though, there is no dispute that HEC’s Label (the product by which Novartis

must measure infringement against) does not expressly instruct a physician omit a loading dose

from the dosing regimen. No matter, Novartis says, such a explicit statement would be

“superfluous.” It was not superfluous during prosecution—it was necessary to obtain the patent.

       Without an explicit instruction, Novartis then argues that an implicit inference may replace

the explicit one, and provide sufficient evidence of specific intent. To try to make this showing,

Novartis points to the label and to documents not included in the label. The only piece of evidence

in this trial that could have shown that HEC encouraged, recommended, or promoted dosing absent

an immediately preceding loading dose is a document that states the maximum daily dose for



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fingolimod is 0.5mg (therefore precluding a dose higher than that, which a loading dose must be).

But that document is not part of the label and it is not provided to physicians; HEC cannot induce

someone with a document that they do not give them. Novartis then points to warnings on the

label regarding a known side effect, bradycardia, as evidence that HEC instructs a physician to

administer absent an immediately preceding loading dose. But warnings are not instructions,

especially where the warning of a side effect is the same type of side effect that the patient will be

monitored for upon initiation of fingolimod. This warning cannot reasonably direct a physician

away from a dose by saying that the risks are the same as they would encounter at the lower dose,

and where the label confirms both doses are effective.

        The last grasp on induced infringement is for Novartis is to try to lower the bar—instead

of trying to prove that there was an explicit or implicit instruction to exclude the loading dose,

Novartis mischaracterizes Federal Circuit caselaw to try to argue that all it needs to show for

specific intent is that as a result of the label, at least some users will invariably infringe the claim.

But the case it relies on, and cases after that, confirm that Novartis’s reading is wrong. The Federal

Circuit has always required more: it requires active conduct. Those facts are not in evidence here,

and Novartis has failed to prove by a preponderance of the evidence that HEC induces

infringement of the ’405 patent.

        Recognizing that it has issues with proving intent, Novartis tries to resurrect a contributory

infringement claim in the PTO, but that they never raised at trial and their experts never offered

on opinion on. They readily admit why they are doing so: “The standard is less than the intent

required for induced infringement––contributory infringement requires only proof of a defendant’s

knowledge, not intent, that his activity cause infringement.” (Novartis Opening Br. at 19.) But

even so, Novartis still must prove each and every element required for contributory infringement



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to prevail; it has not done so. In its haste, Novartis failed to even address at least one requirement

and failed to even make a prima facie case for another.

                                           ARGUMENT

 I.    NOVARTIS HAS FAILED TO PROVE THAT HEC INDUCES INFRINGEMENT.
       Every claim of the ’405 patent contains the same limitation that 0.5 mg fingolimod is

administered daily “absent an immediately preceding loading dose regimen.” (HFF 9) A loading

dose is a “greater-than-normal dose that you usually use at the start of a therapy to sort of jump

start the levels [of the drug] in the body.” (HFF 109.) Novartis has failed to prove by a

preponderance of the evidence that HEC induces physicians to perform the step of administering

0.5mg fingolimod daily absent an immediately preceding loading dose regimen. (SCOL 16.)

       Inducing infringement requires proof of specific intent to encourage an infringing use. See

Grunenthal GMBH v. Alkem Labs. Ltd., 919 F.3d 1333, 1339 (Fed. Cir. 2019). (SCOL 7.) Thus,

the question is whether HEC’s proposed label instructs users to perform the patented method. See

Sanofi v. Glenmark Pharm. Inc., USA, 204 F. Supp. 3d 665, 673 (D. Del. 2016), aff’d sub nom.

Sanofi v. Watson Labs. Inc., 875 F.3d 636 (Fed. Cir. 2017). In Hatch-Waxman cases, “[t]he mere

existence of direct infringement by physicians, while necessary to find liability for induced

infringement, is not sufficient for inducement.” Takeda Pharm. U.S.A., Inc. v. W.-Ward Pharm.

Corp., 785 F.3d 625, 631 (Fed. Cir. 2015). Instead, “[t]he label must encourage, recommend, or

promote infringement.” Id. Likewise, merely describing an infringing use is not sufficient for

inducement. See id. (SCOL 7.) As applied to the issue before the Court, that question distills to:

Does HEC’s proposed label promote, encourage, or recommend that physicians prescribe

fingolimod in the absence of an immediately preceding loading dose?

       As Dr. Hoffman confirmed and Novartis readily admits, HEC’s label is silent as to a

loading dose. (SFF 1, 5 (Hoffman Tr. 641:16–22); Novartis Br. at 16 (admitting that HEC’s label

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“does not tell doctors explicitly not to use a loading dose”).) Thus, it is clear that HEC’s label does

not affirmatively instruct physicians to omit use of a loading dose. (SFF 5 (Hoffman Tr. 567:6–

12).) In the absence of an affirmative instruction in the proposed label—and in the absence of any

evidence of HEC’s state of mind whatsoever—Novartis tries to manufacture specific intent

through other parts of the label and to portions of HEC’s ANDA filings (which are not even part

of the label and not provided to physicians) to try to prove the existence of an instruction to exclude

use of a loading dose. These efforts fail to establish by with any evidence—much less a

preponderance of the evidence—HEC’s specific intent to induce infringement.

               A. Novartis Failed to Prove that HEC’s Label Implicitly Encourages or
                  Instructs Physicians.
       Novartis concedes as it must that HEC’s label “does not tell doctors explicitly not to use a

loading does,” and argues instead that “the label’s silence on loading doses thus must be

understood to exclude a loading dose.” (Novartis Br. at 16.) Novartis also points to cautions within

the label to argue it constitutes implicit encouragement sufficient to carry its burden of proof

establishing that HEC specifically intends to induce infringement. Both arguments lack merit.

       First, the label’s silence here cannot establish that the label necessarily excludes a loading

dose. At the outset, Novartis attempts to claim that including an explicit instruction telling doctors

to omit use of a loading dose “would be superfluous.” (Novartis Br. at 16.) Yet the no loading dose

negative limitation was not a superfluous addition to the asserted claims during prosecution. In

fact, Novartis tried and failed during prosecution to argue that an amendment to claims with daily

dosages of 0.5mg fingolimod was not necessary to overcome the prior art—but instead of sticking

to that argument by continuing to traverse the rejection or by filing an appeal from the Examiner’s

rejections—Novartis chose to get around the rejection by amending its claims to add the negative

claim limitation. (FF 18.) As Novartis admitted at the time, its amendment to add the “absent an


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 immediately preceding loading dose” negative claim limitation was made to “further distinguish

 [the] claims from the disclosure of Kovarik.” (FF 18.)

        At trial, when addressing whether HEC’s label induced infringement of claims containing

 the limitation “daily dosage of 0.5mg absent the immediately preceding loading dose,” Dr. Lublin

 cited three pieces of information: (1) Section 2.3 of the label for “Recommended Dosage”; (2) a

 cutout from a medication guide, which is attached to the labels and directed to patients not

 physicians, which states “take fingolimod capsules one time each day;” and (3) “an ANDA

 document that was the quality overall summary that on its face page said the maximum daily dose

 of fingolimod is 0.5mg.” (SFF 7; (Lublin Tr. 226:25–229:9 (referencing PDX-118); PTX-

 273.0001 (Sept. 2014 HEC Quality Overall Summary); PTX-310.006, .0035 (Recommended

 Dosage Section and Medication Guide).)

        Novartis defeats its own argument when it admits that it must look outside HEC’s label to

 find an upper limit for daily dosing. Dr. Lublin identifies and relies on HEC’s Quality Overall

 Summary which states that the maximum daily dose of fingolimod is 0.5mg. (SFF 7). In fact, that

 statement, if it were actually in the label, could potentially be used as evidence of encouraging or

 instructing a physician not to use a loading dose. But it is not in HEC’s label. The Quality Overall

 Summary is not part of the label and it is not provided to physicians—thus it cannot induce

 physician infringement. (SFF 8.)

        Novartis also trots out a parade-of-horribles, asserting that “drug sponsors would have to

 pad labels with huge lists of prohibited dosing regimens, rendering the labels unreadable” if

 Novartis were required to prove that a label must affirmatively encourage or instruct a physician

 not to use a loading dose if patent claims require omitting use of a loading dose. (Novartis Br. at

 16.) But this argument is non-sensical. HEC is not arguing that the label must list all of the



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 prohibited dosing regimens to comply with FDA regulations for labeling. HEC is only arguing that

 if a patent owner seeks to maintain a decades-long monopoly on a claim it wrote—even if that

 claim includes a negative limitation—then the patent owner must actually be required to prove

 HEC’s specific intent to induce infringement of claims containing that negative limitation.

 Novartis’s parade-of-horribles only comes to pass if a patent owner obtained a patent that includes

 claims with a huge list of prohibited dosing regimens.

        Second, Novartis argues that the warnings within the label implicitly instruct physicians

 not to exceed 0.5mg in a day, and therefore establish HEC’s specific intent to infringe. There are

 two statements within the label that Novartis points to: (1) “fingolimod doses higher than 0.5 mg

 are associated with a greater incidence of adverse reactions without additional benefit” and (2) a

 risk of bradycardia. (Novartis Br. at 16.) But courts have made clear that warnings alone are not

 enough—and that do not rise to the level of an instruction. “There is a rather significant difference

 between a warning and an instruction. A warning provides information regarding a potential risk.

 It does not prescribe a course of action. An instruction, on the other hand, is a statement directing

 one to take some action, such as how to avoid a potential adverse event.” United Therapeutics

 Corp. v. Sandoz, Inc., No. 12-CV-01617, 2014 WL 4259153, at *18 (D.N.J. Aug. 29, 2014) (SCOL

 8.)

        Both of these statements do nothing more than provide information regarding a potential

 risk. With respect to the risk of bradycardia, Novartis specifically argues that “HEC’s ANDA

 documents warn against the risk of bradycardia from an ‘overdose’ higher than [0.5mg].” (Novartis

 Br. at 16 (citing PTX-310.0006, 0008, .0020, .0021, .0033, .0035).) But, the evidence that Novartis

 cites does not support the inferences it makes. In particular, nothing in the cited label identifies

 what amount of fingolimod constitutes an “overdose.” (SFF 3.) Additionally, the risk associated



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 with overdose (bradycardia) is the exact same risk associated with taking 0.5mg daily dose. (SFF

 3 (Compare PTX-310.0008 (“Because of a risk for bradyarrhythmia and AV blocks, patients

 should be monitored during fingolimod treatment initiation [see Dosage and Administration

 (2.4)]”) with PTX-310.0020 (“Fingolimod can induce bradycardia as well as AV conduction

 blocks (including complete AV block) . . . In case of fingolimod overdosage, observe patients

 overnight with continuous ECG monitoring in a medical facility, and obtain regular measurements

 of blood pressure [see Dosage and Administration (2.4)].”).) The risk to patients is not avoided by

 a physician prescribing only 0.5mg.

         Thus, under proper analysis of the case law, Novartis has not established by a

 preponderance of the evidence that HEC specifically intends to induce infringement because it has

 not proven that HEC’s label encourages, recommends, or promotes affirmatively excluding a

 loading dose. (SFF 5; SCOL 16.)

        B.       Novartis Cannot Use Misrepresented Case Law to Infer Intent Once it Fails
                 to Prove Its Case Under the Correct Case law.
          Without evidence that HEC’s label did not affirmatively or implicitly instruct physicians

 to omit use of a loading dose, Novartis attempts to move the goal posts. Relying heavily on

 AstraZeneca LP v. Apotex, Inc., Novartis claims that a label that “will cause at least some users”

 to infringe is all that is required to “infer . . . an affirmative intent to infringe the patent.” (Novartis

 Br. at 14 (quoting AstraZeneca LP v. Apotex, Inc., 633 F.3d 1042, 1059-60 (Fed. Cir. 2010).)

 Novartis then string cites several other cases (most of which cite to AstraZeneca) for the same

 proposition—i.e., that the only thing Novartis needs to show to prove HEC’s specific intent to

 induce is that, as a result of the label at least some users will infringe. But Novartis wholly

 mischaracterizes AstraZeneca. Even more troubling is that Astrazeneca itself and other Federal




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 Circuit cases have made clear that the interpretation Novartis presented to the Court is at best

 incomplete and at worst, misleading.

        First, AstraZeneca was not a Hatch-Waxman case brought pursuant to § 271(e) (where

 infringement is the filing of the ANDA as an artificial act of infringement), but instead it was

 brought as a declaratory judgment seeking a finding of infringement pursuant to § 271 (a)-(c)

 (direct, induced, and contributory infringement). See AstraZeneca, 633 F.3d at 1047 (FDA

 approved Apotex’s ANDA on March 30, 2009 and AstraZeneca filed a declaratory judgment act

 the following day). More importantly—and contrary to Novartis’s argument— AstraZeneca did

 not find specific intent to infringe solely because “the label will cause at least some users” to

 infringe the patent. Id. at 1059–60. Far from it. AstraZeneca makes it crystal clear that more is

 required, yet Novartis left that analysis out:

                “[T]he district court found that Apotex had the requisite specific intent to
                induce infringement because Apotex included instructions in its proposed
                label that will cause at least some users to infringe the asserted method
                claims. The district court also found that, despite being aware of the
                infringement problem presented by the proposed label, Apotex
                nonetheless proceeded with its plans to distribute its generic drug product.
                This conduct, not merely the planned distribution of the generic drug,
                formed the basis of the district court's specific intent finding.

 Id. (emphasis added). With respect to the infringement problem, the court noted that there was

 evidence in the record that “Apotex ‘was aware of and certainly concerned about the potential

 infringement problem proposed by its label,’ but nevertheless decided to proceed.” Id. at 1059.

 The problem for Apotex in AstraZeneca is that Apotex had already attempted to carve out

 infringing uses and the FDA rejected that attempt in a letter that “explicitly stated (and therefore

 put Apotex on notice) that” a certain portion of the language in the label may involve once-daily

 dosing, which Apotex attempted to carve out. See id. at 1058. Novartis’s brief ignores these critical

 facts—and importantly, Novartis’s trial presentation did not include any evidence of HEC’s


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 conduct or intent with respect to HEC’s proposed labeling process—and so Novartis had no

 evidence to cite in its post-trial brief establishing HEC’s specific intent to induce infringement.

 (SFF 7–10; Novartis Opening Br. at 14–16.)

        Further, while Novartis selectively acknowledged that HEC submitted a Paragraph IV

 letter challenging invalidity, it neglected to disclose to this Court that HEC’s Paragraph IV letter

 also included and disclosed HEC’s rationale for why it believed that it did not infringe the ’405

 patent, because HEC’s label does not include any instruction or encouragement to physicians

 directed to the negative claim limitation “absent an immediately preceding loading dose.” (See

 Novartis Br. at 19 (citing JSUF ¶ 21 which establishes that HEC’s Paragraph IV letter contended

 that HEC does not infringe).) Like in traditional patent infringement cases, in Hatch-Waxman

 litigation, a reasonable, good-faith belief in noninfringement can negate the specific intent required

 for induced infringement and applies where such a belief is based on a reasonable reading of the

 patent claims, even if that reading is later found to be incorrect. In re Biogen ‘755 Patent Litig.,

 335 F. Supp. 3d 688, 714 (D.N.J. 2018). HEC’s Paragraph IV Letter evidenced HEC’s reasonable,

 good-faith belief that it was not inducing any infringement. (JSUF ¶ 21.)

        Novartis’s interpretation is also inexplicable in the face of the Federal Circuit expressly

 rejecting the same argument in Grunenthal GMBH v. Alkem Labs., Ltd., 919 F.3d 1333 (Fed. Cir.

 2019)—a case Novartis cites in its brief. Addressing patent owners that relied heavily on the

 AstraZeneca, the Grunenthal court corrected their readings (calling it inapposite) because

 AstraZeneca “held that specific intent could be inferred because the defendant proceeded with a

 plan to distribute the generic drug knowing that its label posed infringement problems. In addition,

 the instructions in the DOSAGE AND ADMINISTRATION section of the label would inevitably

 lead some consumers to practice the claimed method.” Grunenthal, 919 F.3d at 1340. The



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 defendants in Grunenthal (like HEC) were situated different than those in AstraZeneca because

 the patent owner “point[ed] only to the indications of the proposed labels as grounds for of

 inducement, which, as explained above, do not implicitly or explicitly encourage or instruct users”

 to take action that would inevitably lead to infringement. See id. The same is true of HEC and this

 renders AstraZeneca inapposite to the facts in this case. Moreover, Novartis presented no

 testimonial evidence from any HEC witness during trial—thus Novartis has nothing like the

 specific intent evidence presented in AstraZeneca.

        Novartis also cites Novartis Pharm. Corp. v. Breckenridge Pharm., Inc., C.A. No. 1:14-

 cv-1043-RGA, 2017 WL 1278672 (D. Del. Apr. 3, 2017). (Novartis Opening Br. at 14.) In a case

 Novartis was involved in, it summarized the holding as follows: “In Hatch-Waxman cases alleging

 that a proposed drug label will induce infringement by physicians . . . a [proposed] package insert

 containing directives that will ‘inevitably lead some consumers to practice the claimed method’

 provides sufficient evidence for a finding of specific intent.” (Novartis Br. at 14 (citing Novartis,

 2017 WL 1278672, at *3) What Novartis’s ellipses omits is “The label must encourage,

 recommend, or promote infringement. The mere existence of direct infringement by physicians,

 while necessary to find liability for induced infringement, is not sufficient for inducement. Rather,

 specific intent and action to induce infringement must be proven.” Id. (internal citations and

 quotations omitted). In addition, “vague label language cannot be combined with speculation about

 how physicians may act to find inducement,” because that would convert “that which [the Federal

 Circuit] ha[s] held is legally irrelevant—mere knowledge of infringing uses—into induced

 infringement.” Takeda, 785 F.3d at 631–32 (internal citations omitted). (SCOL 9.)

        Novartis string-cites several other cases on the same topic, yet none of them change the

 proper reading of AstraZeneca and none of them cure Novartis’s failure to prove that HEC had the



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 specific intent necessary for induced infringement. (SCOL 16.) Finally, Novartis cites to Forest

 Labs. Holdings Ltd. v. Mylan Inc., 206 F. Supp. 3d 957 (D. Del. 2016) to argue that its

 interpretation of AstraZeneca applies equally to cases with negative limitations. (Novartis Br. at

 17-18 (citing Forest Labs. Holdings Ltd. v. Mylan Inc., 206 F. Supp. 3d 957 (D. Del. 2016).)

 According to Novartis, the court found induced infringement based on a warning that warned

 against co-administration with amino acids (the negative limitation), “just as HEC’s label warns

 against doses higher than 0.5 mg daily.” (Novartis Opening Br. at 18 (citing Forest Labs., 206 F.

 Supp. 3d at 975-76).) But the warnings in Forest Labs were far more stark, and were akin to an

 actual instruction, because the evidence presented established that the co-administration “could

 lead to potentially life-threatening side effects and such combinations could be potentially very

 dangerous for fibromyalgia patients,” and the claimed method was for treatment of fibromyalgia.

 Forest Labs., 206 F. Supp. 3d at 975. Forest Labs is thus not a comparable case and cannot

 overcome Novartis’s utter lack of evidence directed to HEC’s specific intent.

        In sum, Novartis has failed to prove that HEC explicitly or implicitly encouraged,

 recommended, or promoted to physicians the negative limitation of excluding a loading dose.

 Likewise, Novartis cannot be permitted to rewrite inducement law to cure its failure of proof.


II.     NOVARTIS HAS FAILED TO PROVE CONTRIBUTORY INFRINGEMENT

        Novartis apparently realized post-trial that it may not be able to establish the intent required

 for induced infringement, so it appended an attempt to establish HEC’s contributory infringement

 to the end of its brief in less than four pages—even though Novartis never even mentioned it during

 trial. It should thus be no surprise that Novartis failed to carry its burden for establishing

 contributory infringement. To carry its trial burden, Novartis was required to establish by a

 preponderance of the evidence presented at trial each of the following: an offer to sell, sale, or


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 import a material for use in practicing a patented process; a component or material for use in a

 patented process constituting a material part of the invention; knowledge by the defendant that the

 component is especially made or especially adapted for use in an infringement of such patents, and

 not a staple article suitable for substantial non-infringing use. See, e.g., 35 U.S.C. § 271(c); Forest

 Labs., 206 F. Supp. 3d at 974. (SCOL 17.) Defendant “must know that the combination for which

 his component was especially designed was both patented and infringing.” Global–Tech

 Appliances, Inc. v. SEB S.A., 563 U.S. 754, 766 (2011). (SCOL 17.) Importantly, the patent owner

 bears the burden of initially proving that there are no substantial noninfringing uses for the

 products. Grunenthal, 919 F.3d at 1340 (citing 35 U.S.C. § 271(c)). (SCOL 18.) “A noninfringing

 use is substantial when it is ‘not unusual, far-fetched, illusory, impractical, occasional, aberrant,

 or experimental.’” Id. (internal quotations omitted) (affirming district court finding of substantial

 non-infringing use). (SCOL 18.)

        Dr. Lublin, Novartis’s expert on infringement, never mentioned contributory

 infringement—nor did he testify to the absence of substantial non-infringing use. (See SFF 11.)

 And he would not have been permitted to so testify if he had tried. In Dr. Lublin’s infringement

 expert report, to which he is cabined, he summarized his infringement opinions as follows: “As

 set forth below, defendants’ ANDAs infringe the claims of the 405 Patent, as those claims have

 been construed by the Court. The labels of defendants’ ANDA products instruct physicians to

 perform every step in the methods claimed by the 405 Patent. A physician would follow the label,

 which sets out a complete dosing regimen, and would perform the dosing as the label instructed

 and for the purpose set out the claim preambles.” (Ex. A to Decl. of Steven J. Udick, First Expert

 Report of Dr. Lublin, ¶ 9.) Other than an incomplete recitation of the legal principles for

 contributory infringement (see ¶ 20), Dr. Lublin’s report disclosed no opinion directed to any



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 required element for contributory infringement. Dr. Lublin’s Supplemental Expert Report on

 Infringement does not expand the scope of his opinions at all. (Ex. B to Decl. of Steven J. Udick,

 Supplemental Expert Report of Dr. Lublin.)

         Even during closing, Novartis’s counsel infringement presentation referenced only the

 standard for induced infringement (“whether the label instructs users to perform the patented

 method”). (Novartis Closing Tr. 948:17-950:16.) Thus, given it was Novartis’s burden to

 establish HEC’s contributory infringement, Novartis’s brief misses the mark when it argues that

 “HEC has offered no separate defense to [contributory infringement]—HEC did not even

 mention contributory infringement in closing argument.” (Novartis Br. 18-19.) Novartis itself

 failed to raise this claim even once during the entire trial.

         For these reasons, it is no surprise that Novartis failed to prove its contributory

 infringement claim. First, Novartis failed to offer any evidence at trial that there are no substantial

 noninfringing uses for the products—and it completely failed to address, let alone offer evidence

 establishing that HEC knew its ANDA product is especially made or especially adapted for an

 infringing use, and not a staple article suitable for substantial noninfringing use. (SCOL 17, 19,

 20.)

                 A. Novartis Has Failed to Show a Prima Facie Case of No Substantial Non-
                    infringing Uses.
         Turning first to Novartis’s failure to make out a prima facie case of no substantial non-

 infringing use, Novartis attempts to proffer improper evidence to establish its prima facie case of

 no substantial noninfringing use. For example, Novartis argued that it “showed at trial that HEC’s

 label will contribute to infringing claims 1-6 of the 405 Patent under 271(c).” (Novartis Br. at 18;

 emphasis added.) But HEC’s label does not—and cannot by itself—establish that HEC’s ANDA

 product is not a staple article suitable for substantial non-infringing use, as 271(c) requires.


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        Moreover, Novartis only cites to statements made by HEC’s counsel to support its position

 that a use involving a loading dose would be off-label (Novartis Br. at 20). But this is not evidence

 and the Court cannot properly consider it as such. See Finjan, Inc. v. Symantec Corp., No. 10-CV-

 593 (GMS), 2013 WL 5302560, at *25 (D. Del. Sept. 19, 2013), aff’d, 577 F. App’x 999 (Fed. Cir.

 2014) (rejecting argument that an alleged “admission” made in closing argument is properly

 considered evidence and noting that “[i]t is well established that attorney argument does not

 constitute evidence.”) (SCOL 4.) Novartis cites to no evidence in the contributory infringement

 portion of its brief to support this claim. (See Novartis Br. at 18–22.)

        The legal test for a substantial noninfringing use is a use that is “not unusual, far-fetched,

 illusory, impractical, occasional, aberrant, or experimental.” See Grunenthal, 919 F.3d at 1340

 (citing 35 U.S.C. § 271(c)). (SCOL 18.) Dr. Lublin testified on cross-examination that, with respect

 to delivering a loading dose early in the treatment, that for a chronic disease like MS it would

 “usually not” occur, that there are “unusual circumstances where you’ll do it”—but he then went

 on to correct himself and admitted that, “Actually, you do it acutely with relapses.” (SFF 13

 (Lublin 290:6-20).)

        Further, use of a non-infringing loading dose in this instance is not experimental and not

 off-lable. The label identifies studies that included a dose of 1.25mg and that dose provided similar

 levels of efficacy as the 0.5mg dose. (SFF 4 (PTX-310.0027-.0029).) Thus, a doctor reviewing the

 label would know that those doses were involved in several clinical studies. (SFF 4.) Additionally,

 Dr. Jusko testified during trial (in an effort to support validity in the face of Kappos 2006) that

 “fingolimod has a very long half-life” and that “very typically drugs with long half lives, because

 they take so long to come to steady state, to an equilibrium, they’re often given with loading

 doses.” (SFF 14 (Jusko Tr. 897:14-898:4).)



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        These admissions make clear that, if Novartis is to be credited with its positions about the

 potential use of loading doses in the context of Kappos 2006, then it cannot also claim that the use

 of a loading dose (e.g. 1.25mg) is so “unusual, far-fetched, illusory, impractical, occasional,

 aberrant, or experimental” that it is not a substantial non-infringing use. See Grunenthal, 919 F.3d

 at 1340. (SCOL 18.)

       B.     Novartis Failed to Present Evidence that HEC Knew its’ ANDA Product is
 Especially Made or Adapted for Infringing Use, and Not a Staple Article Suitable for
 Substantial Noninfringing Use.
        As shown above, one element of contributory infringement is that the patent owner must

 prove knowledge by the defendant that the component is especially made or especially adapted

 for an infringing use, and not a staple article suitable for substantial noninfringing use. See,

 e.g., 35 U.S.C. § 271(c); Forest Labs., 206 F. Supp. 3d at 974. Novartis utterly failed to even

 discuss this required element during trial or in its post-trial briefing. (Novartis Br., passim.)

        Novartis asserts that “HEC indisputably knew about the 405 Patent upon providing a

 Paragraph IV letter to the FDA. That letter expressly attacked the Patent as supposedly invalid.”

 (JSUF ¶ 21.) However, knowledge of the patent is not enough—Novartis must also prove based

 on a preponderance of evidence that HEC knew its ANDA product is especially made or especially

 adapted for an infringing use, and not a staple article suitable for substantial noninfringing use.

 Novartis’s brief is worse than silent—it is misleading with respect to carrying its burden on this

 dispositive element of its claim—because the Pretrial Order stipulated fact it cites actually

 stipulates that HEC’s ANDA included a certification that, in HEC’s opinion, “the ’405 Patent is

 invalid, unenforceable, and/or will not be infringed by the commercial manufacture, use, and

 sale of HEC’s ANDA Product.” (JSUF ¶ 21.) Thus, the only “evidence” Novartis cites that could

 even arguable establish this element of its contributory infringement claim in fact establishes that

 HEC has always maintained that its ANDA product does not infringe or contribute to the

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 infringement of Novartis’s patent—and in view of Novartis’s failure of proof this pretrial

 stipulation rebuts any inference that HEC had the knowledge required for contributory

 infringement.

        Novartis did not have an expert—or any other trial witness—that offered an opinion on

 contributory infringement, or that otherwise established HEC’s contributory infringement.

 Novartis thus failed to present any evidence establishing—or even addressing—this independent

 requirement to prove that HEC knew its ANDA product is especially made or especially adapted

 for an infringing use, and not a staple article suitable for substantial noninfringing use. This failure

 of proof precludes a finding of contributory infringement by HEC.

                                           CONCLUSION

        For all of the foregoing reasons, Novartis’s asserted claims are invalid.



                                                      Respectfully submitted,
  Of Counsel:                                         STAMOULIS & WEINBLATT, LLP
  Mieke Malmberg                                      /s/ Stamatios Stamoulis
  SKIERMONT DERBY LLP                                 Stamatios Stamoulis (#4606)
  800 Wilshire Blvd., Ste. 1450                       Richard C. Weinblatt (#5080)
  Los Angeles, CA 90017                               STAMOULIS & WEINBLATT, LLP
  (213) 788-4502                                      800 N. West St., 3rd Floor
  mmalmberg@skiermontderby.com                        Wilmington, DE 19801
                                                      (302) 999-1540
  Paul Skiermont                                      stamoulis@swdelaw.com
  Sarah Spires                                        weinblatt@swdelaw.com
  Steven J. Udick
  SKIERMONT DERBY LLP                                Attorneys for Defendant HEC Pharm Co.,
  1601 Elm Street, Suite 4400                        HEC Pharm USA Inc.
  Dallas, TX 75201
  (214) 978-6600
  pskiermont@skiermontderby.com
  sspires@skiermontderby.com
  sudick@skiermontderby.com

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